

ORDER

PER CURIAM:
AND NOW, this 18th day of December, 1995, Steven F. Herron having been suspended from the practice of law in the State of New Jersey for a period of one year by Order of the Supreme Court of New Jersey dated May 18, 1995; the said Steven F. Herron having been directed on October 16, 1995, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Steven F. Herron is suspended from the practice of law in this Commonwealth for a period of one year, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., participates by designation as a senior judge as provided by Pa.R.JA. No. 701(f).
